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                                                                      ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                      DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                      DATE FILED: 11/5/2020
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RONALD LICKTEIG,                                                  :
                                                                  :
                                                    Plaintiff, :
                                                                  :      1:19-cv-5263-GHW
                              -against-                           :
                                                                  :         ORDER
CERBERUS CAPITAL MANAGEMENT, L.P., :
COVIS PHARMACEUTICALS, INC., COVIS                                :
MANAGEMENT INVESTORS LLC, and COVIS :
HOLDINGS, L.P.,                                                   :
                                                                  :
                                                 Defendants. :
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GREGORY H. WOODS, United States District Judge:
         On November 4, 2020, the Court held a conference regarding the discovery disputes raised

in the parties’ October 30, 2020 letter. Dkt. No. 74. Defendants are granted leave to file a motion

for a protective order in connection with the anticipated depositions of Brett Ingersoll and Michael

Palmer. The deadline for Defendants to file and serve their motion is November 9, 2020. Plaintiff’s

opposition is due no later than November 13, 2020; Defendants’ reply, if any, is due no later than

November 17, 2020.

         For the reasons stated on the record, Paragraph 3 of the Stipulated Confidentiality

Agreement and Protective Order, Dkt. No. 73, is amended to read as follows: “With respect to the

Confidential portion of any Discovery Material other than deposition transcripts and exhibits, the

Producing Party or its counsel may designate such portion as ‘Confidential’ by stamping or

otherwise clearly marking as ‘Confidential’ the protected portion in a manner that will not interfere

with legibility or audibility. Within three business days following receipt of a written request from a

Party requesting the production of Discovery Material marked as Confidential for use in a public
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filing or at trial, the Producing Party shall produce to that Party a copy of the requested Discovery

Material with the confidential information redacted.”

       SO ORDERED.

 Dated: November 5, 2020                             _____________________________________
 New York, New York                                           GREGORY H. WOODS
                                                             United States District Judge




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